
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on June 26, 1974 (297 So.2d 49) affirming the judgment of the Circuit Court of Dade County, Florida, in the above styled appeal, and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed October 7, 1976 (339 So.2d 175) and mandate now lodged in this court quashed a portion of this court’s judgment and remanded the cause for further proceedings in accordance with the opinion and judgment of the Supreme Court of Florida,
NOW, THEREFORE, It is Ordered that the mandate of this court issued in this cause on July 18, 1974 is withdrawn, the opinion and judgment of this court filed June 26,1974 insofar as it is in conflict with or fails to conform to the views expressed in the said opinion and judgment of the Supreme Court of Florida aforesaid is withdrawn and vacated, and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court. The opinion and judgment of this court, except as withdrawn and vacated aforesaid, is adhered to. Costs allowed shall be taxed in the circuit court (Rule 3.16(b), Florida Appellate Rules.)
